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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SARAH PALIN,
           Plaintiff,
                                               17-cv-4853 (JSR)
        -v-
                                               ORDER
 NEW YORK TIMES CO. and
 JAMES BENNET,
           Defendants.


JED S. RAKOFF, U.S.D.J.:

       The Court has just learned that, based on a new safety protocol

that   will   be   implemented   imminently,    no   one   may   unmask    in   the

courtroom -- even in the HEPA-filter-outfitted witness and attorney

boxes -- unless they have tested negative for COVID-19 using an

approved molecular diagnostic test. (Antigen tests are not approved.)

If a person will be removing his or her mask on successive days, the

person may test on an every-other-day schedule; otherwise, the speaker

must test negative on the day of his or her appearance. If a speaker

has had a confirmed case of COVID-19 (verified by either a doctor’s

note or a viral test result) within the prior ninety days, he or she

will be exempted from these testing requirements. Confirmation of

negative test results (or of a prior case of COVID-19) must be provided

to the Court through its staff.

       To be clear: This new policy will be in effect when trial begins

on Monday and applies to all witnesses and counsel who intend to speak

without a mask. Moreover, counsel should make adequate preparations




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to comply with these requirements before trial starts. The Court will

not delay the start of the proceedings on account of this new policy.

     The following is a list of the tests that are approved:

       •   PCR / RT-PCR / ddPCR / Rapid PCR (Polymerase Chain Reaction)
       •   NAA / NAAT (Nucleic Acid Amplification)
       •   AMP PRB (Amplified Probe)
       •   LAMP (Loop-mediated Isothermal Amplification)
       •   Accepted molecular diagnostic test brands, including but not
           limited to:
             o Abbott ID NOW
             o Quidel Lyra PCR
             o Abbott Realtime PCR
             o Cobas Qualitative PCR
             o FTD PCR
             o Xpert Xpress
             o Simplexa Direct PCR
             o RUCDR Infinite Biologics
             o Lucira Health

The following are tests that are NOT approved:

       •   All tests that do not have FDA authorization or approval
       •   All Antigen (Ag) tests (including but not limited to Quidel
           Sophia, Abbott BinaxNOW and Rapid Antigen Tests)
       •   All Antibody tests (such as IgG, IgA, IgM and Rapid Antibody
           Tests)
       •   All blood tests (such as fingerstick, venipuncture)
       •   All plasma tests
       •   All serum tests
       •   All lateral flow tests
       •   Any doctor’s note

     If counsel have any questions or need assistance (either procuring

an approved test or arranging for a location within the courthouse to

perform a test), they should email covid_response@nysd.uscourts.gov.

If needed, the Court has tests that can be made available to the

parties free-of-charge and that can be taken one hour prior to the




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scheduled appearance time, provided that there is 24-hours’ notice

sent to the Covid Response email.

    SO ORDERED.

New York, NY                                 ________________________
January 23, 2022                             JED S. RAKOFF, U.S.D.J.




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